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
  
    
                                                                                           
    
                                            Delaware
    
                                         
                                                                 11
                                                                                
                                                                                                                                                     





                                                                                                     





                               Carbondale Glen Lot L-2, LLC
                                                
                                               


                 
                            
                                                
        
                                                
        
                                       

                                               


                    4 7 - 2 1 3 1 3 6 9
                                                
        


                                                                 
                                                                                                             


                                                                                                                 

                                                14140 Ventura Boulevard #302
                                                                  
                                                                                                       

                                                                  
                                                                                                                 

                                               Sherman  Oaks, California 91423
                                                                  
                                                                                                                      

                                                                                                                 
                                                                                                                 
                                                Los Angeles
                                                
                                                                                                         
                                                                                                                     

                                                                                                                 

                                                                                                                 
                                                                                                                                           



                    http://woodbridgecompanies.com/
                                                


                             
                                                X 
                                                
                                                


                                                                     
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         Carbondale Glen Lot L-2, LLC
                                         
               



                                         
   
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         X 


                                         

                                         
                                         
                                             
                                         
                                             

                                         
                                             
                                             5    3    1    3
                                             

           
      
                          
                                         
                                         
                                         X 
                                                        
                                                                 
                                                                 
                                                            
                                                             
                                                                 
                                                                 
                                                                 

                                                             
                                                             
                                                                 

                                                             
                                                                 
                                                                 
                                                                 

                                                             
                                                                 
                                         
          
                                         X 
      
                     
                                                                                             
      
                                         
                                                                                            

            
      
                                                         See Rider 1
                                         X     
      
                                       
                                                                                               
                             


                                                          
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       Carbondale Glen Lot L-2, LLC
                                      
             




     
    
                                       
                                       X 
                                          
                                          

                                       
                                       X 



       
                                       X 
                
    
                            
    
                                                   
                                                     

                                                   
                                                   
                                                      
                                                      

                                                   


                                                 
                                                                                   
                                                                                                             
                                                                            

                                                                                        
                                                                                                                             


                                                 
                                                   
                                                    
                                                               

                                                                       




           



            
                       
                                       X 
                                       

                                                                                               
 
                                                                                             
                                                                 X 
    (on a consolidated basis)                                                                           
                                       

                                                                              
                                                                                                                    X 
 
                                                                      
    (on a consolidated basis)
                                                                     
                                                                  



                                                        
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       Carbondale Glen Lot L-2, LLC
                                           
             



                                                                                     
                                                                                                                           X 
 
                                                                              
    (on a consolidated basis)
                                                                            
                                                                         


           


 
             


           
    
                                              
    
                                            

                                            
                                              


                                         

                                                                 02/09/2018
                                               
                                                            


                                             /s/ Bradley D. Sharp
                                                             Bradley D. Sharp
                                                                                                           
                                                        

                                                   Chief Restructuring Officer
                                                           




 
                                             /s/ Sean M. Beach
                                                                         02/09/2018
                                                                                                                             
                                                                                         



                                              Sean M. Beach
                                              
                                              
                                              Young Conaway Stargatt & Taylor, LLP
                                              
                                              
                                              Rodney Square, 1000 North King Street
                                              
                                                  
                                              Wilmington
                                               Delaware      19801
                                                                                                     
                                                                                                       

                                              (302) 571-6621
                                                                          sbeach@ycst.com
                                                                                                                
                                                                                                 



                                              No. 4070                                              Delaware
                                              
                                                                                          









                                                                
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                                               02/09/2018 Filers

            The Debtor and each of the affiliated entities listed in the table below filed in this Court a
     voluntary petition for relief under chapter 11 of the United States Code, 11 U.S.C. §§ 101-1532.

Carbondale Glen Lot L-2, LLC                            Massabesic Investments, LLC
Carbondale Peaks Lot L-1, LLC                           H64 Pennhurst Holding Company, LLC
H33 Hawthorn Holding Company, LLC                       Pennhurst Investments, LLC
Hawthorn Investments, LLC                               H50 Sachs Bridge Holding Company, LLC
M96 Lilac Valley Holding Company, LLC                   Sachs Bridge Investments, LLC
Lilac Valley Investments, LLC                           M58 Springvale Holding Company, LLC
H18 Massabesic Holding Company, LLC                     Springvale Investments, LLC




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                                               12/04/2017 Filers

            The Debtor and each of the affiliated entities listed in the table below filed in this Court a
     voluntary petition for relief under chapter 11 of the United States Code, 11 U.S.C. §§ 101-1532.

Woodbridge Group Of Companies, LLC                      Broadsands Investments, LLC
215 North 12th Street, LLC                              M29 Brynderwen Holding Company, LLC
H31 Addison Park Holding Company, LLC                   Brynderwen Investments, LLC
Addison Park Investments, LLC                           M13 Cablestay Holding Company, LLC
M11 Anchorpoint Holding Company, LLC                    Cablestay Investments, LLC
Anchorpoint Investments, LLC                            M31 Cannington Holding Company, LLC
H32 Arborvitae Holding Company, LLC                     Cannington Investments, LLC
Arborvitae Investments, LLC                             Carbondale Doocy, LLC
M26 Archivolt Holding Company, LLC                      Carbondale Glen Lot A-5, LLC
Archivolt Investments, LLC                              Carbondale Glen Lot D-22, LLC
H2 Arlington Ridge Holding Company, LLC                 Carbondale Glen Lot E-24, LLC
Arlington Ridge Investments, LLC                        Carbondale Glen Lot GV-13, LLC
M19 Arrowpoint Holding Company, LLC                     Carbondale Glen Lot SD-23, LLC
Arrowpoint Investments, LLC                             Carbondale Glen Lot SD-14, LLC
H58 Baleroy Holding Company, LLC                        Carbondale Glen Mesa Lot 19, LLC
Baleroy Investments, LLC                                Carbondale Glen River Mesa, LLC
Basswood Holding, LLC                                   Carbondale Glen Sundance Ponds, LLC
H13 Bay Village Holding Company, LLC                    Carbondale Glen Sweetgrass Vista, LLC
Bay Village Investments, LLC                            Carbondale Spruce 101, LLC
H15 Bear Brook Holding Company, LLC                     Carbondale Sundance Lot 15, LLC
Bear Brook Investments, LLC                             Carbondale Sundance Lot 16, LLC
H46 Beech Creek Holding Company, LLC                    M53 Castle Pines Holding Company, LLC
Beech Creek Investments, LLC                            Castle Pines Investments, LLC
H70 Bishop White Holding Company, LLC                   M25 Centershot Holding Company, LLC
Bishop White Investments, LLC                           Centershot Investments, LLC
H53 Black Bass Holding Company, LLC                     M76 Chaplin Holding Company, LLC
Black Bass Investments, LLC                             Chaplin Investments, LLC
H28 Black Locust Holding Company, LLC                   M79 Chestnut Company, LLC
Black Locust Investments, LLC                           Chestnut Investments, LLC
H20 Bluff Point Holding Company, LLC                    H5 Chestnut Ridge Holding Company, LLC
Bluff Point Investments, LLC                            Chestnut Ridge Investments, LLC
H49 Bowman Holding Company, LLC                         M45 Clover Basin Holding Company, LLC
Bowman Investments, LLC                                 Clover Basin Investments, LLC
M27 Brise Soleil Holding Company, LLC                   M51 Coffee Creek Holding Company, LLC
Brise Soleil Investments, LLC                           Coffee Creek Investments, LLC
H40 Bramley Holding Company, LLC                        H56 Craven Holding Company, LLC
Bramley Investments, LLC                                Craven Investments, LLC
M28 Broadsands Holding Company, LLC                     M14 Crossbeam Holding Company, LLC


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Crossbeam Investments, LLC                            M68 Goosebrook Holding Company, LLC
M63 Crowfield Holding Company, LLC                    Goosebrook Investments, LLC
Crowfield Investments, LLC                            H68 Graeme Park Holding Company, LLC
Crystal Valley Holdings, LLC                          Graeme Park Investments, LLC
M92 Crystal Woods Holding Company, LLC                H61 Grand Midway Holding Company, LLC
Crystal Woods Investments, LLC                        Grand Midway Investments, LLC
Cuco Settlement, LLC                                  H26 Gravenstein Holding Company, LLC
M72 Daleville Holding Company, LLC                    Gravenstein Investments, LLC
Daleville Investments, LLC                            H44 Green Gables Holding Company, LLC
M39 Derbyshire Holding Company, LLC                   Green Gables Investments, LLC
Derbyshire Investments, LLC                           H27 Grenadier Holding Company, LLC
H76 Diamond Cove Holding Company, LLC                 Grenadier Investments, LLC
Diamond Cove Investments, LLC                         H41 Grumblethorpe Holding Company, LLC
H14 Dixville Notch Holding Company, LLC               Grumblethorpe Investments, LLC
Dixville Notch Investments, LLC                       M87 Hackmatack Hills Holding Company, LLC
H7 Dogwood Valley Holding Company, LLC                Hackmatack Investments, LLC
Dogwood Valley Investments, LLC                       M56 Haffenburg Holding Company, LLC
M32 Dollis Brook Holding Company, LLC                 Haffenburg Investments, LLC
Dollis Brook Investments, LLC                         H39 Haralson Holding Company, LLC
M9 Donnington Holding Company, LLC                    Haralson Investments, LLC
Donnington Investments, LLC                           M33 Harringworth Holding Company, LLC
M15 Doubleleaf Holding Company, LLC                   Harringworth Investments, LLC
Doubleleaf Investments, LLC                           M80 Hazelpoint Holding Company, LLC
M22 Drawspan Holding Company, LLC                     Hazelpoint Investments, LLC
Drawspan Investments, LLC                             H66 Heilbron Manor Holding Company, LLC
M71 Eldredge Holding Company, LLC                     Heilbron Manor Investments, LLC
Eldredge Investments, LLC                             Hollyline Holdings, LLC
H25 Elstar Holding Company, LLC                       Hollyline Owners, LLC
Elstar Investments, LLC                               H35 Hornbeam Holding Company, LLC
H19 Emerald Lake Holding Company, LLC                 Hornbeam Investments, LLC
Emerald Lake Investments, LLC                         H37 Idared Holding Company, LLC
M24 Fieldpoint Holding Company, LLC                   Idared Investments, LLC
Fieldpoint Investments, LLC                           H74 Imperial Aly Holding Company, LLC
M88 Franconia Notch Holding Company, LLC              Imperial Aly Investments, LLC
Franconia Notch Investments, LLC                      M99 Ironsides Holding Company, LLC
M10 Gateshead Holding Company, LLC                    Ironsides Investments, LLC
Gateshead Investments, LLC                            H43 Lenni Heights Holding Company, LLC
M85 Glenn Rich Holding Company, LLC                   Lenni Heights Investments, LLC
Glenn Rich Investments, LLC                           H6 Lilac Meadow Holding Company, LLC
M93 Goose Rocks Holding Company, LLC                  Lilac Meadow Investments, LLC
Goose Rocks Investments, LLC                          M17 Lincolnshire Holding Company, LLC


                                                      2
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Lincolnshire Investments, LLC                        M70 Pinney Holding Company, LLC
M54 Lonetree Holding Company, LLC                    Pinney Investments, LLC
Lonetree Investments, LLC                            H23 Pinova Holding Company, LLC
M40 Longbourn Holding Company, LLC                   Pinova Investments, LLC
Longbourn Investments, LLC                           M34 Quarterpost Holding Company, LLC
M73 Mason Run Holding Company, LLC                   Quarterpost Investments, LLC
Mason Run Investments, LLC                           M57 Ridgecrest Holding Company, LLC
H8 Melody Lane Holding Company, LLC                  Ridgecrest Investments, LLC
Melody Lane Investments, LLC                         M97 Red Woods Holding Company, LLC
M90 Merrimack Valley Holding Company, LLC            Red Woods Investments, LLC
Merrimack Valley Investments, LLC                    M75 Riley Creek Holding Company, LLC
M61 Mineola Holding Company, LLC                     Riley Creek Investments, LLC
Mineola Investments, LLC                             H59 Rising Sun Holding Company, LLC
H16 Monadnock Holding Company, LLC                   Rising Sun Investments, LLC
Monadnock Investments, LLC                           M62 Sagebrook Holding Company, LLC
H60 Moravian Holding Company LLC                     Sagebrook Investments, LLC
Moravian Investments, LLC                            H54 Seven Stars Holding Company, LLC
M67 Mountain Spring Holding Company, LLC             Seven Stars Investments, LLC
Mountain Spring Investments, LLC                     H11 Silk City Holding Company, LLC
M83 Mt. Holly Holding Company, LLC                   Silk City Investments, LLC
Mt. Holly Investments, LLC                           H30 Silver Maple Holding Company, LLC
H38 Mutsu Holding Company, LLC                       Silver Maple Investments, LLC
Mutsu Investments, LLC                               Silverleaf Funding, LLC
M91 Newville Holding Company, LLC                    M41 Silverthorne Holding Company, LLC
Newville Investments, LLC                            Silverthorne Investments, LLC
H51 Old Carbon Holding Company, LLC                  M36 Springline Holding Company, LLC
Old Carbon Investments, LLC                          Springline Investments, LLC
H55 Old Maitland Holding Company, LLC                M49 Squaretop Holding Company, LLC
Old Maitland Investments, LLC                        Squaretop Investments, LLC
M46 Owl Ridge Holding Company, LLC                   H24 Stayman Holding Company, LLC
Owl Ridge Investments, LLC                           Stayman Investments, LLC
H22 Papirovka Holding Company, LLC                   M86 Steele Hill Holding Company, LLC
Papirovka Investments, LLC                           Steele Hill Investments, LLC
H4 Pawtuckaway Holding Company, LLC                  M5 Stepstone Holding Company, LLC
Pawtuckaway Investments, LLC                         Stepstone Investments, LLC
M38 Pemberley Holding Company, LLC                   H9 Strawberry Fields Holding Company, LLC
Pemberley Investments, LLC                           Strawberry Fields Investments, LLC
H17 Pemigewasset Holding Company, LLC                H36 Sturmer Pippin Holding Company, LLC
Pemigewasset Investments, LLC                        Sturmer Pippin Investments, LLC
M95 Pepperwood Holding Company, LLC                  H21 Summerfree Holding Company, LLC
Pepperwood Investments, LLC                          Summerfree Investments, LLC


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H47 Summit Cut Holding Company, LLC                  Wildernest Investments, LLC
Summit Cut Investments, LLC                          H52 Willow Grove Holding Company, LLC
H65 Thornbury Farm Holding Company, LLC              Willow Grove Investments, LLC
Thornbury Farm Investments, LLC                      M94 Winding Road Holding Company, LLC
M60 Thunder Basin Holding Company, LLC               Winding Road Investments, LLC
Thunder Basin Investments, LLC                       WMF Management, LLC
M37 Topchord Holding Company, LLC                    Woodbridge Capital Investments, LLC
Topchord Investments, LLC                            Woodbridge Commercial Bridge Loan Fund 1, LLC
M48 Vallecito Holding Company, LLC                   Woodbridge Commercial Bridge Loan Fund 2, LLC
Vallecito Investments, LLC                           Woodbridge Investments, LLC
M74 Varga Holding Company, LLC                       Woodbridge Mezzanine Fund 1, LLC
Varga Investments, LLC                               Woodbridge Mortgage Investment Fund 1, LLC
M50 Wetterhorn Holding Company, LLC                  Woodbridge Mortgage Investment Fund 2, LLC
Wetterhorn Investments, LLC                          Woodbridge Mortgage Investment Fund 3, LLC
H12 White Birch Holding Company, LLC                 Woodbridge Mortgage Investment Fund 3A, LLC
White Birch Investments, LLC                         Woodbridge Mortgage Investment Fund 4, LLC
M43 White Dome Holding Company, LLC                  Woodbridge Structured Funding, LLC
White Dome Investments, LLC                          H29 Zestar Holding Company, LLC
Whiteacre Funding, LLC                               Zestar Investments, LLC
M44 Wildernest Holding Company, LLC




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   Fill in this information to identify the case and this filing:

 Debtor Name        Carbondale Glen Lot L-2, LLC

 United States Bankruptcy Court for the:                            District of   Delaware
                                                                                   (State)

  Case number (If known):




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                 12/15

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
 submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
 document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the
 identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
 in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
 1341, 1519, and 3571.


            De c la ra t ion a nd signa t ure



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
          or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule

             Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official
          Form 204)
             Other document that requires a declaration Consolidated Corporate Ownership Statement


     I declare under penalty of perjury that the foregoing is true and correct.


     Executed on         02/09/2018                                              /s/ Bradley D. Sharp
                       MM / DD / YYYY                                             Signature of individual signing on behalf of debtor




                                                                                  Bradley D. Sharp
                                                                                  Printed name


                                                                                  Chief Restructuring Officer
                                                                                  Position or relationship to debtor


Official Form 202                          Declaration Under Penalty of Perjury for Non Individual Debtors
                                      Case 18-10284-KJC                       Doc 1      Filed 02/09/18            Page 11 of 38

      Fill in this information to identify the case:

      Debtor name Woodbridge Group of Companies, LLC, et al._________________________

      United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                     Check if this is an
      Case number (If known):         17-12560 (KJC)
                                                                                                                                                        amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: Consolidated List of Cre dit ors Who H a ve t he
    3 0 La rge st U nse c ure d Cla im s a nd Are N ot I nside rs                            12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and          Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor            (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 contact                              debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                      professional          unliquidated,   total claim amount and deduction for value of
                                                                                      services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                      government
                                                                                      contracts)
                                                                                                                            Total claim, if    Deduction for       Unsecured
                                                                                                                            partially          value of            claim
                                                                                                                            secured            collateral or
                                                                                                                                               setoff

1    G3 GROUP                                                                         TRADE                                                                              $992,112.50
     8020 FLORAL AVE                           PHONE: (805) 557-1075
     LOS ANGELES, CA 90046                     FAX:
                                               EMAIL: docs@gthreegroup.com


2    DANE COYLE CUSTOM HOMES INC               OPHELIA OVENSON                        TRADE                                                                              $784,207.22
     23945 CALABASAS RD STE 101                PHONE: (805) 857-0198
     CALABASAS, CA 91302                       FAX:
                                               EMAIL:


3    PRECISE INVESTMENT GROUP                                                         COMMISSION                                                                         $679,800.00
     14140 VENTURA BLVD., SUITE 302            PHONE:
     SHERMAN OAKS, CA 91423                    FAX:
                                               EMAIL:


4    BUILDER'S TEAM                                                                   TRADE                                                                              $594,628.33
     8949 SUNSET BLVD # 201                    PHONE: (310) 734-7846
     WEST HOLLYWOOD CA 90069                   FAX:
                                               EMAIL: info@buildersteam.com


5    CITY OF LOS ANGELES                                                              TRADE                                                                              $571,477.45
     PO BOX 30879                              PHONE: (213) 473-3231
     LOS ANGELES, CA 90030-0879                FAX:
                                               EMAIL:


6    JANCKILA CONSTRUCTION INC                 BRET BYMAN                             TRADE                                                                              $527,223.00
     75 BUCKSKIN DR                            PHONE: (970) 963-7239
     CARBONDALE, CO 81623                      FAX:
                                               EMAIL: ken@janckilaconstruction.com


7    DAVID GOLDMAN                                                                    COMMISSION                                                                         $379,800.00
     14140 VENTURA BLVD., SUITE 302            PHONE:
     SHERMAN OAKS, CA 91423                    FAX:
                                               EMAIL:


8    OHS DESIGN & DEVELOPMENT LLC              PAUL OH                                TRADE                                                                              $353,700.00
     500 SHATTO PL, #411                       PHONE: (213) 739-1512
     LOS ANGELES, CA 90020                     FAX:
                                               EMAIL: info@ohsdd.com




    Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 1
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     Debtor:   Woodbridge Group of Companies, LLC, et al.                                             Case number (if known) 17-12560 (KJC)



      Name of creditor and complete          Name, telephone number, and        Nature of the claim    Indicate if     Amount of unsecured claim
      mailing address, including zip code    email address of creditor          (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                                professional           unliquidated,   total claim amount and deduction for value of
                                                                                services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff

9     BROOK CHURCH-KOEGEL                                                       COMMISSION                                                                          $349,800.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


10    THE I-GRACE COMPANY                   JOHN GASPARYAN                      TRADE                                                                               $284,081.41
      1964 WESTWOOD BLVD, STE 425           PHONE: (310) 645-1555
      LOS ANGELES, CA 90025                 FAX:
                                            EMAIL: info@igrace.com


11    NICOLE WALKER                                                             COMMISSION                                                                          $279,800.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


12    DARIN BAKER                                                               COMMISSION                                                                          $229,800.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


13    SEAN RENNINGER                                                            COMMISSION                                                                          $229,191.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


14    KAA DESIGN GROUP INC                                                      TRADE                                                                               $172,383.50
      4201 REDWOOD AVE                      PHONE: (310) 821-1400
      LOS ANGELES, CA 90066                 FAX:
                                            EMAIL:


15    LOS ANGELES DEPT OF WATER AND POWER                                       TRADE                                                                               $154,615.98
      PO BOX 30808                        PHONE: (800) 342-5397
      LOS ANGELES CA 90030-0808           FAX:
                                          EMAIL:


16    JOHN LABIB & ASSOCIATES               JOHN LABIB                          TRADE                                                                               $132,390.00
      STRUCTURAL ENGINEERS LLP              PHONE: (213) 239-9700
      319 MAIN ST                           FAX:
      EL SEGUNDO, CA 90245                  EMAIL: info@labibse.com


17    KIM TAVARES                                                               COMMISSION                                                                          $100,473.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


18    ALBA ENVIRONMENTAL SERVICES INC                                           TRADE                                                                                $92,080.00
      237 WEST 35TH STREET, STE 303         PHONE: (917) 217-0459
      NEW YORK, NY 10001                    FAX:
                                            EMAIL: info@albademo.com


19    BT CONSTRUCTION & DEVELOPMENT         BIANCA TORSARKISSIAN                TRADE                                                                                $88,530.39
      23036 BURBANK BLVD                    PHONE: (818) 274-2624
      WOODLAND HILLS, CA 91367              FAX:
                                            EMAIL: btconstruction@mac.com


20    STEVE GLICK                                                               COMMISSION                                                                           $73,898.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:




     Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                             Page 2
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     Debtor   Woodbridge Group of Companies, LLC, et al.                                                      Case number (if known)__ 17-12560 (KJC)___________________________


      Name of creditor and complete               Name, telephone number, and           Nature of the claim   Indicate if      Amount of unsecured claim
      mailing address, including zip code         email address of creditor             (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                                  contact                               debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                                        professional          unliquidated,    total claim amount and deduction for value of
                                                                                        services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                                        government
                                                                                        contracts)
                                                                                                                               Total claim, if    Deduction for       Unsecured
                                                                                                                               partially          value of            claim
                                                                                                                               secured            collateral or
                                                                                                                                                  setoff

21    BOSWELL CONSTRUCTION                       YESSICA CRUZ                           TRADE                                                                                $70,902.80
      17071 VENTURA BLVD STE 201                 PHONE: (818) 668-3116
      ENCINO, CA 91316                           FAX:
                                                 EMAIL: info@buildboswell.com


22    HM DG INC                                  HASSAN MAJD                            TRADE                                                                                $68,234.23
      4154 PICO BLVD                             PHONE: (323) 643-4780
      LOS ANGELES CA 90019                       FAX:
                                                 EMAIL: info@hmdginc.com


23    STUDIO TIM CAMPBELL                                                               TRADE                                                                                $62,748.74
      3820 WILLAT AVE                            PHONE:
      CULVER CITY, CA 90232                      FAX:
                                                 EMAIL: info@studiomk26.com


24    PLUS DEVELOPMENT LLC                                                              TRADE                                                                                $61,700.00
      8920 W SUNSET BLVD STE 200A                PHONE: (424) 274-3881
      WEST HOLLYWOOD, CA 90069                   FAX:
                                                 EMAIL: la@plusdevelopmentgroup.com


25    A LOGAN INSURANCE BROKERAGE                                                       TRADE                                                                                $59,481.96
      260 WEST 36TH ST 3RD FLOOR                 PHONE: (212) 375-9050
      NEW YORK, NY 10018                         FAX:
                                                 EMAIL: info@aloganins.com


26    WALKER WORKSHOP DESIGN BUILD               NOAH WALKER                            TRADE                                                                                $59,460.96
      5574 W WASHINGTON BLVD                     PHONE: (310) 752-9929
      LOS ANGELES, CA 90016                      FAX:
                                                 EMAIL: info@walkerworkshop.com


27    STANDARD LLP                                                                      TRADE                                                                                $55,000.00
      4411 SANTA MONICA BLVD                     PHONE: (323) 662-1000
      LOS ANGELES, CA 90029                      FAX:
                                                 EMAIL: info@standardarchitecture.com


28    STUDIOMK27 ARQUITETOS L TDA                                                       TRADE                                                                                $45,000.00
      AL TIETE, 505 CERQUEIRA CESAR 01417-02     PHONE:
      SAO PAULO SP BRAZIL +5511 3081 3522        FAX:
      CNPJ: 48.071.609/0001-88/ CCM: 8.274.215   EMAIL: info@studiomk26.com


29    RONALD DIEZ                                PHONE:                                 COMMISSION                                                                           $27,558.00
      14140 VENTURA BLVD., SUITE 302             FAX:
      SHERMAN OAKS, CA 91423                     EMAIL:



30    JAVID CONSTRUCTION INC                     TIMMY JAVID                            TRADE                                                                                $25,686.06
      26922 DEER TRAIL CT                        PHONE: (818) 878-7878
      CALABASAS CA 91301                         FAX:
                                                 EMAIL: timmyjavid@hotmail.com




     Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 3
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

         In re:                                                          Chapter 11

         WOODBRIDGE GROUP OF COMPANIES, LLC,                             Case No. 17-12560 (KJC)
         et al.,1
                                                                         (Joint Administration Requested for
                                   Debtors.                              Additional Debtors)



                         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

                       Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy
         Procedure, Woodbridge Group of Companies, LLC, a Delaware corporation, and the affiliated
         debtors and debtors in possession (each a “Debtor”), hereby state as follows:

                         1.       The ownership chart that follows identifies all entities having a direct or
         indirect ownership interest in the Debtors. Unless otherwise indicated, each entity owns 100% of
         those entities falling directly below it in the ownership chart. Please note that, for the sake of
         clarity, those entities that filed as of February 9, 2018 (the “Additional Debtors”), are
         highlighted in the ownership chart and each appear on Schedule A-2.




                                       [Remainder of Page Intentionally Left Blank]




         1
                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14140 Ventura Blvd #302, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
         procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
         numbers, and their addresses are not provided herein. A complete list of this information may be obtained on the
         website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting
         counsel for the Debtors.
01:22675128.1
                                                         Case 18-10284-KJC                   Doc 1         Filed 02/09/18             Page 15 of 38
                                                                     Woodbridge Group Enterprise
                                                                        Corporate Organization Chart

                                                                                         RS Protection
                                                                                            Trust                          Schedule C
                                                                                                                          (Non-Filers)1
                                                                                          (Non-Filer)1




                                                                                   Schedule A-2
                          WGC                                                       [Each Mezz                                                   Schedule D
                       Independent                  Carbondale                                                      Schedule B                                                  Schedule E
                                                                                   HoldCo / Non-                                                 Brokerage
                       Management,                  Doocy, LLC                                                         Filers                                                    Inactive
                                                                                     Collateral]                                                 Companies
                        LLC (BAG)                                                                                                                                              (Non-Filers)
                                                                                       Filers                                                   (Non-Filers)1
                        (with CRO)
                         (Non-Filer)

                                                                                    Schedule A-2
                                                 Woodbridge Group                  [Each PropCo /
                                                 of Companies, LLC                 Non-Collateral]
                                                                                       Filers



              Schedule A-1
           [Each Mezz HoldCo               WMF                   Schedule F
              / Collateral]            Management, LLC             Filers
                 Filers




                Schedule A-1
               [Each PropCo /
                 Collateral]
                   Filers




      Woodbridge              Woodbridge             Woodbridge                 Woodbridge             Woodbridge              Woodbridge            Woodbridge
       Mortgage                Mortgage               Mortgage                   Mortgage               Mortgage                Commercial            Commercial           Schedule G-1        Schedule G-2
    Investment Fund         Investment Fund        Investment Fund            Investment Fund        Investment Fund         Bridge Loan Fund      Bridge Loan Fund           Filers            (Non-Filers)
         1, LLC                  2, LLC                 3, LLC                     3A, LLC                4, LLC                  1, LLC                2, LLC




Schedule H-1           Schedule H-2                                                                       Schedule I
   Filers               (Non-Filers)                                                                     (Non-Filers)

                                                                                                                                                1. Not managed by   WGC Independent Management, LLC.
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                                  Schedule A-1: Collateral Filers

  #                     PropCo                                             HoldCo
  1     Addison Park Investments, LLC                H31 Addison Park Holding Company, LLC
  2     Bluff Point Investments, LLC                 H20 Bluff Point Holding Company, LLC
  3     Summit Cut Investments, LLC                  H47 Summit Cut Holding Company, LLC
  4     Lilac Meadow Investments, LLC                H6 Lilac Meadow Holding Company, LLC
  5     Diamond Cove Investments, LLC                H76 Diamond Cove Holding Company, LLC
  6     Heilbron Manor Investments, LLC              H66 Heilbron Manor Holding Company, LLC
  7     Thornbury Farm Investments, LLC              H65 Thornbury Farm Holding Company, LLC
  8     Sagebrook Investments, LLC                   M62 Sagebrook Holding Company, LLC
  9     Imperial Aly Investments, LLC                H74 Imperial Aly Holding Company, LLC
 10     Gravenstein Investments, LLC                 H26 Gravenstein Holding Company, LLC
 11     Silver Maple Investments, LLC                H30 Silver Maple Holding Company, LLC
 12     Goosebrook Investments, LLC                  M68 Goosebrook Holding Company, LLC
 13     Elstar Investments, LLC                      H25 Elstar Holding Company, LLC
 14     Hornbeam Investments, LLC                    H35 Hornbeam Holding Company, LLC
 15     Silk City Investments, LLC                   H11 Silk City Holding Company, LLC
 16     Hollyline Owners, LLC                        Hollyline Holdings, LLC
 17     Crowfield Investments, LLC                   M63 Crowfield Holding Company, LLC
 18     Centershot Investments, LLC                  M25 Centershot Holding Company, LLC
 19     Graeme Park Investments, LLC                 H68 Graeme Park Holding Company, LLC
 20     Mason Run Investments, LLC                   M73 Mason Run Holding Company, LLC
 21     Pinney Investments, LLC                      M70 Pinney Holding Company, LLC
 22     Drawspan Investments, LLC                    M22 Drawspan Holding Company, LLC
 23     Doubleleaf Investments, LLC                  M15 Doubleleaf Holding Company, LLC
 24     White Birch Investments, LLC                 H12 White Birch Holding Company, LLC
 25     Lincolnshire Investments, LLC                M17 Lincolnshire Holding Company, LLC
 26     Arlington Ridge Investments, LLC             H2 Arlington Ridge Holding Company, LLC
 27     Bay Village Investments, LLC                 H13 Bay Village Holding Company, LLC




A-1 Collateral Filers
                                              Case 18-10284-KJC         Doc 1     Filed 02/09/18      Page 17 of 38
                                            Schedule A-2: Non Collateral Filers
  #                                PropCo                                                         HoldCo
  1    Sturmer Pippin Investments, LLC                             H36 Sturmer Pippin Holding Company, LLC
  2    Grand Midway Investments, LLC                               H61 Grand Midway Holding Company, LLC
  3    Bishop White Investments, LLC                               H70 Bishop White Holding Company, LLC
  4    Goose Rocks Investments, LLC                                M93 Goose Rocks Holding Company, LLC
  5    Pawtuckaway Investments, LLC                                H4 Pawtuckaway Holding Company, LLC
  6    Varga Investments, LLC                                      M74 Varga Holding Company, LLC
  7    Winding Road Investments, LLC                               M94 Winding Road Holding Company, LLC
  8    Cablestay Investments, LLC                                  M13 Cablestay Holding Company, LLC
  9    Squaretop Investments, LLC                                  M49 Squaretop Holding Company, LLC
  10   Eldredge Investments, LLC                                   M71 Eldredge Holding Company, LLC
  11   Green Gables Investments, LLC                               H44 Green Gables Holding Company, LLC
  12   Riley Creek Investments, LLC                                M75 Riley Creek Holding Company, LLC
  13   Craven Investments, LLC                                     H56 Craven Holding Company, LLC
  14   Chestnut Investments, LLC                                   M79 Chestnut Company, LLC
  15   Chestnut Ridge Investments, LLC                             H5 Chestnut Ridge Holding Company, LLC
  16   Longbourn Investments, LLC                                  M40 Longbourn Holding Company, LLC
  17   Rising Sun Investments, LLC                                 H59 Rising Sun Holding Company, LLC
  18   Willow Grove Investments, LLC                               H52 Willow Grove Holding Company, LLC
  19   Cannington Investments, LLC                                 M31 Cannington Holding Company, LLC
  20   Emerald Lake Investments, LLC                               H19 Emerald Lake Holding Company, LLC
  21   Pemberley Investments, LLC                                  M38 Pemberley Holding Company, LLC
  22   Carbondale Glen River Mesa, LLC                             Crystal Valley Holdings, LLC
  23   Old Maitland Investments, LLC                               H55 Old Maitland Holding Company, LLC
  24   Donnington Investments, LLC                                 M9 Donnington Holding Company, LLC
  25   Mountain Spring Investments, LLC                            M67 Mountain Spring Holding Company, LLC
  26   Clover Basin Investments, LLC                               M45 Clover Basin Holding Company, LLC

A-2 Non Coll Filers
                                               Case 18-10284-KJC         Doc 1     Filed 02/09/18     Page 18 of 38
                                             Schedule A-2: Non Collateral Filers
  #                                 PropCo                                                     HoldCo
  27   Summerfree Investments, LLC                                  H21 Summerfree Holding Company, LLC
  28   Pepperwood Investments, LLC                                  M95 Pepperwood Holding Company, LLC
  29   Zestar Investments, LLC                                      H29 Zestar Holding Company, LLC
  30   Gateshead Investments, LLC                                   M10 Gateshead Holding Company, LLC
  31   Beech Creek Investments, LLC                                 H46 Beech Creek Holding Company, LLC
  32   Baleroy Investments, LLC                                     H58 Baleroy Holding Company, LLC
  33   Moravian Investments, LLC                                    H60 Moravian Holding Company, LLC
  34   Quarterpost Investments, LLC                                 M34 Quarterpost Holding Company, LLC
  35   Topchord Investments, LLC                                    M37 Topchord Holding Company, LLC
  36   Silverthorne Investments, LLC                                M41 Silverthorne Holding Company, LLC
  37   Springline Investments, LLC                                  M36 Springline Holding Company, LLC
  38   Derbyshire Investments, LLC                                  M39 Derbyshire Holding Company, LLC
  39   215 North 12th Street, LLC
  40   Dollis Brook Investments, LLC                                M32 Dollis Brook Holding Company, LLC
  41   Archivolt Investments, LLC                                   M26 Archivolt Holding Company, LLC
  42   Carbondale Glen Sundance Ponds, LLC
  43   Fieldpoint Investments, LLC                                  M24 Fieldpoint Holding Company, LLC
  44   Anchorpoint Investments, LLC                                 M11 Anchorpoint Holding Company, LLC
  45   White Dome Investments, LLC                                  M43 White Dome Holding Company, LLC
  46   Carbondale Spruce 101, LLC
  47   Carbondale Glen Lot A-5, LLC
  48   Arrowpoint Investments, LLC                                  M19 Arrowpoint Holding Company, LLC
  49   Hackmatack Investments, LLC                                  M87 Hackmatack Hills Holding Company, LLC
  50   Bramley Investments, LLC                                     H40 Bramley Holding Company, LLC
  51   Hazelpoint Investments, LLC                                  M80 Hazelpoint Holding Company, LLC

  52   Broadsands Investments, LLC                                  M28 Broadsands Holding Company, LLC

A-2 Non Coll Filers
                                               Case 18-10284-KJC         Doc 1     Filed 02/09/18     Page 19 of 38
                                             Schedule A-2: Non Collateral Filers
  #                                 PropCo                                                     HoldCo
  53   Pinova Investments, LLC                                      H23 Pinova Holding Company, LLC
  54   Seven Stars Investments, LLC                                 H54 Seven Stars Holding Company, LLC
  55   Thunder Basin Investments, LLC                               M60 Thunder Basin Holding Company, LLC
  56   Papirovka Investments, LLC                                   H22 Papirovka Holding Company, LLC
  57   Lenni Heights Investments, LLC                               H43 Lenni Heights Holding Company, LLC
  58   Haralson Investments, LLC                                    H39 Haralson Holding Company, LLC
  59   Monadnock Investments, LLC                                   H16 Monadnock Holding Company, LLC
  60   Dixville Notch Investments, LLC                              H14 Dixville Notch Holding Company, LLC
  61   Pemigewasset Investments, LLC                                H17 Pemigewasset Holding Company, LLC
  62   Mutsu Investments, LLC                                       H38 Mutsu Holding Company, LLC
  63   Newville Investments, LLC                                    M91 Newville Holding Company, LLC
  64   Lonetree Investments, LLC                                    M54 Lonetree Holding Company, LLC
  65   Black Locust Investments, LLC                                H28 Black Locust Holding Company, LLC
  66   Crystal Woods Investments, LLC                               M92 Crystal Woods Holding Company, LLC
  67   Mt. Holly Investments, LLC                                   M83 Mt. Holly Holding Company, LLC
  68   Steele Hill Investments, LLC                                 M86 Steele Hill Holding Company, LLC
  69   Strawberry Fields Investments, LLC                           H9 Strawberry Fields Holding Company, LLC
  70   Grumblethorpe Investments, LLC                               H41 Grumblethorpe Holding Company, LLC
  71   Mineola Investments, LLC                                     M61 Mineola Holding Company, LLC
  72   Glenn Rich Investments, LLC                                  M85 Glenn Rich Holding Company, LLC
  73   Merrimack Valley Investments, LLC                            M90 Merrimack Valley Holding Company, LLC
  74   Idared Investments, LLC                                      H37 Idared Holding Company, LLC
  75   Carbondale Glen Lot SD-23, LLC
  76   Black Bass Investments, LLC                                  H53 Black Bass Holding Company, LLC
  77   Dogwood Valley Investments, LLC                              H7 Dogwood Valley Holding Company, LLC
  78   Old Carbon Investments, LLC                                  H51 Old Carbon Holding Company, LLC

A-2 Non Coll Filers
                                               Case 18-10284-KJC         Doc 1     Filed 02/09/18    Page 20 of 38
                                             Schedule A-2: Non Collateral Filers
  #                                 PropCo                                                     HoldCo
  79   Stepstone Investments, LLC                                   M5 Stepstone Holding Company, LLC
  80   Carbondale Glen Lot SD-14, LLC
  81   Carbondale Glen Mesa Lot 19, LLC
  82   Carbondale Glen Sweetgrass Vista, LLC

  83   Vallecito Investments, LLC                                   M48 Vallecito Holding Company, LLC

  84   Castle Pines Investments, LLC                                M53 Castle Pines Holding Company, LLC

  85   Chaplin Investments, LLC                                     M76 Chaplin Holding Company, LLC

  86   Franconia Notch Investments, LLC                             M88 Franconia Notch Holding Company, LLC
  87   Grenadier Investments, LLC                                   H27 Grenadier Holding Company, LLC
  88   Melody Lane Investments, LLC                                 H8 Melody Lane Holding Company, LLC
  89   Ridgecrest Investments, LLC                                  M57 Ridgecrest Holding Company, LLC
  90   Wildernest Investments, LLC                                  M44 Wildernest Holding Company, LLC
  91   Arborvitae Investments, LLC                                  H32 Arborvitae Holding Company, LLC
  92   Carbondale Glen Lot GV-13, LLC
  93   Owl Ridge Investments, LLC                                   M46 Owl Ridge Holding Company, LLC
  94   Wetterhorn Investments, LLC                                  M50 Wetterhorn Holding Company, LLC
  95   Daleville Investments, LLC                                   M72 Daleville Holding Company, LLC
  96   Bear Brook Investments, LLC                                  H15 Bear Brook Holding Company, LLC
  97   Bowman Investments, LLC                                      H49 Bowman Holding Company, LLC
  98   Carbondale Glen Lot E-24, LLC
  99   Coffee Creek Investments, LLC                                M51 Coffee Creek Holding Company, LLC
 100 Stayman Investments, LLC                                       H24 Stayman Holding Company, LLC
 101 Brise Soleil Investments, LLC                                  M27 Brise Soleil Holding Company, LLC
 102 Brynderwen Investments, LLC                                    M29 Brynderwen Holding Company, LLC
 103 Crossbeam Investments, LLC                                     M14 Crossbeam Holding Company, LLC


A-2 Non Coll Filers
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                                       Schedule A-2: Non Collateral Filers
  #                           PropCo                                                     HoldCo
 104 Haffenburg Investments, LLC                              M56 Haffenburg Holding Company, LLC
 105 Ironsides Investments, LLC                               M99 Ironsides Holding Company, LLC
 106 Red Woods Investments, LLC                               M97 Red Woods Holding Company, LLC
 107 Harringworth Investments, LLC                            M33 Harringworth Holding Company, LLC
 108 Carbondale Glen Lot L-2, LLC                             No affiliated HoldCo - directly owned by RS Protection Trust
 109 Carbondale Peaks Lot L-1, LLC                            No affiliated HoldCo - directly owned by RS Protection Trust
 110 Massabesic Investments, LLC                              H18 Massabesic Holding Company, LLC
 111 Hawthorn Investments, LLC                                H33 Hawthorn Holding Company, LLC
 112 Sachs Bridge Investments, LLC                            H50 Sachs Bridge Holding Company, LLC
 113 Lilac Valley Investments, LLC                            M96 Lilac Valley Holding Company, LLC
 114 Springvale Investments, LLC                              M58 Springvale Holding Company, LLC
 115 Pennhurst Investments, LLC                               H64 Pennhurst Holding Company, LLC




A-2 Non Coll Filers
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                 Schedule B: Other Filers
     #                          Entity Name
     1      Woodbridge Investments, LLC
     2      Woodbridge Capital Investments, LLC
     3      Carbondale Sundance Lot 15, LLC
     4      Carbondale Sundance Lot 16, LLC




B Filers (Other Trust Subs)
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 Schedule C: Other Non Filers

   #               Entity Name
   1    WFS Holding Company, LLC




C Non-Filers (Non Trust)
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           Schedule D: Brokerage Non Filers

  #                        Entity Name
  1    Riverdale Funding, LLC
  2    Woodbridge Realty of Colorado, LLC
  3    Mercer Vine, Inc.




D Brokerage Non Filers
                                          Case 18-10284-KJC        Doc 1   Filed 02/09/18      Page 25 of 38
                                         Schedule E: Inactive Non Filers

  #                     PropCo / Direct Sub                                           HoldCo
  1   1336, LLC
  2   14068 Davana Holding Company, LLC
  3   14068 Davana Terrace, LLC
  4   15672 Castlewoods Drive, LLC
  5   15672 Castlewoods Owners, LLC
  6   15714 Castlewoods Drive, LLC
  7   15714 Castlewoods Owners, LLC
  8   Woodbridge Lending Fund 1, LLC                        81 A Plus Holdings, LLC
  9   Archstone Investments, LLC                            82 M1 Archstone Holding Company, LLC
 10 Ashburton Way Investments, LLC                          83 H88 Ashburton Way Holding Company, LLC
 11 Atalaya Circle Investments, LLC                         84 H79 Atalaya Circle Holding Company, LLC
 12 Bearingside Investments, LLC                            85 M12 Bearingside Holding Company, LLC
 13 Bellmire Investments, LLC                               86 M47 Bellmire Holding Company, LLC
 14 Birchwood Manor Investments, LLC                        87 H85 Birchwood Manor Holding Company, LLC
 15 Boiling Spring Investments, LLC                         88 M81 Boilling Spring Holding Company, LLC
 16 Bonifacio Hill Investments, LLC                         89 H86 Bonifacio Hill Holding Company, LLC
 17 Bowstring Investments, LLC                              90 M20 Bowstring Holding Company, LLC
 18 Breckenridge Investments, LLC                           91 M7 Breckenridge Holding Company, LLC
 19 Breckenridge, LLC
 20 Caisson Investments, LLC                                92 M2 Caisson Holding Company, LLC
 21 Calder Grove Investments, LLC                           93 M30 Calder Grove Holding Company, LLC
 22 Calendonia Circle Investments, LLC
 23 California Commercial Lenders, LLC                      94 H71 Calendonia Circle Holding Company, LLC
 24 Cantilever Investments, LLC                             95 M3 Cantilever Holding Company, LLC
 25 Carbondale Glen Lot E-15, LLC
 26 Carbondale Glen Lot E-38, LLC
 27 Carbondale Glen Lot E-8, LLC


E Inactive Non Filers
                                          Case 18-10284-KJC   Doc 1    Filed 02/09/18    Page 26 of 38
  #                     PropCo / Direct Sub                                    HoldCo
 28 Carbondale Glen Lot GV-6, LLC
 29 Carbondale Glen Lot IS - 11, LLC
 30 Casper Falls Investments, LLC                       96 M59 Casper Falls Holding Company, LLC
 31 Clementina Park Investments, LLC                    97 H72 Clementina Park Holding Company, LLC
 32 Cliff Park Investments, LLC                         98 H57 Cliff Park Holding Company, LLC
 33 Conneaut Lake Investments, LLC                      99 H69 Conneaut Lake Holding Company, LLC
 34 Copper Sands Investments, LLC                      100 H87 Copper Sands Holding Company, LLC
 35 Crestmark Investments, LLC                         101 M21 Crestmark Holding Company, LLC
 36 Crosskeys Investments, LLC                         102 M8 Crosskeys Holding Company, LLC
 37 Dixmont State Investments, LLC                     103 H63 Dixmont State Holding Company, LLC
 38 DVDO Design, LLC
 39 DVDO Holding Company, LLC
 40 Elm City Investments, LLC                          104 M98 Elm City Holding Company, LLC
 41 Evergreen Way Investments, LLC                     105 H3 Evergreen Way Holding Company, LLC
 42 Foxridge Investments, LLC                          106 M69 Foxridge Holding Company, LLC
 43 Fulton Underwood, LLC
 44 Glenhaven Heights Investments, LLC                 107 H73 Glenhaven Heights Holding Company, LLC
 45 Golden Gate Investments, LLC                       108 H81 Golden Gate Holding Company, LLC
 46 Graywater Investments, LLC                         109 M78 Graywater Holding Company, LLC
 47 Great Sand Investments, LLC                        110 M55 Great Sand Holding Company, LLC
 48 Harbor Point Investments, LLC                      111 H90 Harbor Point Holding Company, LLC
 49 Hays Investments, LLC                              112 M64 Hays Holding Company, LLC
 50 Hillview Investments, LLC                          113 H42 Hillview Holding Company, LLC
 51 Holly Park Investments, LLC                        114 H84 Holly Park Holding Company, LLC
 52 Holmesburg Investments, LLC                        115 H62 Holmesburg Holding Company, LLC
 53 Ingleside Path Investments, LLC                    116 H78 Ingleside Path Holding Company, LLC
 54 Irondale Inn Investments, LLC                      117 H48 Irondale Inn Holding Company, LLC
 55 Ivy Circle, LLC
 56 Junipero Serra Investments, LLC                    118 H80 Junipero Serra Holding Company, LLC


E Inactive Non Filers
                                          Case 18-10284-KJC   Doc 1    Filed 02/09/18    Page 27 of 38
  #                     PropCo / Direct Sub                                    HoldCo
 57 Lockwood Investments, LLC                          119 M52 Lockwood Holding Company, LLC
 58 New Montgomery Investments, LLC                    120 H77 New Montgomery Holding Company, LLC
 59 Orchard Mesa Investments, LLC                      121 M42 Orchard Mesa Holding Company, LLC
 60 Pacific Heights Investments, LLC                   122 H75 Pacific Heights Holding Company, LLC
 61 Pearmain Investments, LLC                          123 H34 Pearman Holding Company, LLC
 62 Pembroke Academy Investments, LLC                  124 M84 Pembroke Academy Holding Company, LLC
 63 Phillipsburg Investments, LLC                      125 M65 Phillipsburg Holding Company, LLC
 64 Powel House Investments, LLC                       126 H67 Powel House Holding Company, LLC
 65 RHS Capital, LLC
 66 SAC Holding Company of Aspen, LLC
 67 SAC Management, LLC
 68 Saddlemount Investments, LLC                       127 M35 Saddlemount Holding Company, LLC
 69 Seacliff Run Holding Company, LLC                  128 H83 Seacliff Run Holding Company, LLC
 70 Sidespar Investments, LLC                          129 M4 Sidespar Holding Company, LLC
 71 Sightline Investments, LLC                         130 M23 Sightline Holding Company, LLC
 72 Silverbaron Investments, LLC                       131 H1 Silverbaron Holding Company, LLC
 73 Texas Co-Lenders 01, LLC
 74 Trestlewood Investments, LLC                       132 M6 Trestlewood Holding Company, LLC
 75 Twin Pier Investments, LLC                         133 M18 Twin Pier Holding Company, LLC
 76 U Street Holdings, LLC                             134 H82 Van Ness Holding Company, LLC
 77 Van Ness Investments, LLC                          135 H89 Vista Verde Holding Company, LLC
 78 Vista Verde Investments, LLC
 79 Winnisquam Investments, LLC                        136 M82 Winnisquam Holding Company, LLC
 80 Woodbridge Luxury Homes, LLC                       137 L1 Luxury Holdings, LLC
                                                       138 H45 Harmony Inn Holding Company, LLC




E Inactive Non Filers
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                      Schedule F: Filers Under Woodbridge Group of Companies

  #                        HoldCo                                 Subsidiary of HoldCo
  1   Woodbridge Structured Funding, LLC             Cuco Settlement, LLC
  2   Basswood Holding, LLC




F Filers (WGC Subs)
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    Schedule G-1: Filers Under WMF Management, LLC
    #                       Entity Name
    1       Woodbridge Mezzanine Fund 1, LLC




G-1 Filers (WMF Subs)
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  Schedule G-2: Other Subsidiaries of WMF Management LLC

  #                          Entity Name
  1    Woodbridge Guarantee, LLC
  2    Woodbridge Guarantee Holding, LLC




G -2 Non Filers (WMF Subs)
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         Schedule H-1: Other Subsidiaries of WMF Management, LLC
     #                                  HoldCo

     1       Carbondale Glen Lot D-22, LLC
     2       Whiteacre Funding, LLC
     3       Silverleaf Funding, LLC




H-1 Filers (Fund 1 subs)
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          Schedule H-2: Non Filers

    #                  Entity Name
     1     Alpine Rose, LLC




H-2 Non-Filers (Fund 1 Subs)
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  Schedule I: Subsidiaries of Woodbridge Investment Fund 4

     #                         Entity Name
     1      Foothill CL Nominee, LLC




I Non Filers (Fund 4 Subs)
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                                    ACTION BY WRITTEN CONSENT
                                              OF THE
                                      BOARD OF MANAGERS OF
                                   WGC INDEPENDENT MANAGER LLC

                                                 February 9, 2018

                 The undersigned, being all of the Managers currently appointed to the Board of Managers
         (the “Board”) of WGC Independent Manager LLC, a Delaware limited liability company (the
         “Manager”), that is the manager of Woodbridge Group of Companies, LLC and each of the
         limited liability companies whose names are set forth on Schedule 1 attached hereto (each, a
         “Company” and collectively, the “Companies”), hereby consent to and approve the adoption of
         the following resolutions and each and every action effected thereby or pursuant thereto by
         written consent as if such actions had been taken at a meeting of the Manager of each such
         Company in each case in accordance with each of the Companies’ respective organizational
         documents and with the applicable limited liability company laws of the jurisdiction of formation
         of each Company.

                WHEREAS, each of the Companies is managed by the Manager;

                WHEREAS, the Board has previously appointed Frederick Chin to serve as Chief
         Executive Officer of the Manager (the “CEO”) and Bradley D. Sharp to serve as Chief
         Restructuring Officer of the Manager (the “CRO”);

                 WHEREAS, the Manager has reviewed and considered materials presented by legal and
         financial advisors of the Companies and management regarding the liabilities and liquidity
         situation of the Companies, the strategic alternatives available to each of them, and the impact of
         the foregoing on each of the Company’s businesses;

               WHEREAS, the Manager has received advice from the legal and financial advisors of
         the Companies and management regarding the possible need to liquidate or restructure the
         Companies, and has fully considered each of the strategic alternatives available to each
         Company, and the impact of the foregoing on each Company’s business and its stakeholders;

                 WHEREAS, the Manager has reviewed and considered the recommendations of the
         Companies’ legal and financial advisors and management regarding the relief that would be
         necessary and advisable to obtain from the Bankruptcy Court to allow the Companies to
         effectively transition into operation as debtors in possession (collectively, the “First Day
         Relief”) under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
         “Bankruptcy Code”);

                WHEREAS, the Manager has determined that it is fair, appropriate, advisable,
         necessary, and in the best interests of each Company, its creditors, members, and other
         stakeholders that each Company file or cause to be filed a voluntary petition for relief under the
         provisions of chapter 11 of the Bankruptcy Code and seek the First Day Relief; and

               WHEREAS, the Manager desires to approve the following resolutions (the
         “Resolutions”).
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                NOW, THEREFORE, BE IT:

         CHAPTER 11 PETITION AND FIRST DAY RELIEF

                 RESOLVED, that in the judgment of the Manager, it is desirable and in the best interests
         of the creditors, members, and other stakeholders of each Company that each Company (i) file or
         cause to be filed a voluntary petition for relief under the provisions of chapter 11 of the
         Bankruptcy Code and (ii) seek the First Day Relief;

                 RESOLVED, that the CEO and the CRO, acting on behalf of Manager, be, and each,
         acting individually and not jointly, hereby is, authorized and empowered to execute and file on
         behalf of each Company all petitions, schedules, lists, and other motions, papers, or documents,
         and to take any and all actions that either deems necessary or proper to obtain such relief,
         including, without limitation, any action necessary to maintain the ordinary course operation of
         the business of each such Company;

         RETENTION OF PROFESSIONALS

                 RESOLVED, that the CEO and the CRO, acting on behalf of the Manager, be, and each,
         acting individually and not jointly, hereby is, authorized and directed in the name and on behalf
         of the Companies to employ Development Specialists, Inc. as restructuring financial advisor in
         connection with any case commenced by any Company under the Bankruptcy Code and all
         related matters, and any such prior actions are hereby ratified in their entirety;

                 RESOLVED, that the CEO and the CRO, acting on behalf of the Manager, be, and each,
         acting individually and not jointly, hereby is, authorized and directed in the name and on behalf
         of the Companies to employ the law firm of Gibson, Dunn & Crutcher LLP as general
         bankruptcy counsel to represent and assist the Companies in carrying out their respective duties
         under the Bankruptcy Code and to take any and all actions to advance the Companies’ rights and
         obligations, and any such prior actions are hereby ratified in their entirety;

                 RESOLVED, that the CEO and the CRO, acting on behalf of the Manager, be, and each,
         acting individually and not jointly, hereby is, authorized and directed in the name and on behalf
         of the Companies to employ the law firm of Young Conaway Stargatt & Taylor, LLP as
         Delaware bankruptcy counsel to represent and assist the Companies in carrying out their
         respective duties under the Bankruptcy Code and to take any and all actions to advance the
         Companies’ rights and obligations, and any such prior actions are hereby ratified in their
         entirety;

                 RESOLVED, that the CEO and the CRO, acting on behalf of the Manager, be, and each,
         acting individually and not jointly, hereby is, authorized and directed in the name and on behalf
         of the Companies to employ Garden City Group Inc. as claims and noticing agent and
         administrative advisors in connection with any case commenced by the Companies under the
         Bankruptcy Code and all related matters, and any such prior actions are hereby ratified in their
         entirety;

                 RESOLVED, that the CEO and the CRO, acting on behalf of the Manager, be, and each,
         acting individually and not jointly, hereby is, authorized and directed in the name and on behalf
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         of the Companies to employ any other professionals to assist the Companies in carrying out their
         respective duties under the Bankruptcy Code and to take any and all actions to advance the
         Companies’ rights and obligations;

                 RESOLVED, that the CEO and the CRO, acting on behalf of the Manager, be, and each,
         acting individually and not jointly, hereby is, authorized and directed in the name and on behalf
         of the Companies to execute appropriate retention agreements, pay appropriate retainers, and
         cause to be filed appropriate applications for authority to retain the services of the foregoing
         professionals as necessary;

         FURTHER ACTIONS AND PRIOR ACTIONS

                 RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
         CEO and the CRO, the CEO and the CRO or their respective designees shall be, and each of
         them, acting alone, hereby is, authorized, directed, and empowered in the name of, and on behalf
         of, any Company, to take or cause to be taken any and all such further actions, to execute and
         deliver any and all such agreements, certificates, instruments, and other documents and to pay all
         expenses, including filing fees, in each case as in such officer’s or officers’ judgment shall be
         necessary or desirable to fully carry out the intent and accomplish the purposes of the
         Resolutions adopted herein;

                RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
         by the foregoing Resolutions done in the name of and on behalf of any Company, which acts
         would have been approved by the foregoing Resolutions except that such acts were taken before
         these Resolutions were certified, are hereby in all respects approved and ratified; and

                RESOLVED, that a copy of these Resolutions of the Manager shall be filed in the
         records of each Company.


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                 IN WITNESS WHEREOF, the undersigned have executed this Action by Written Consent to be
         effective as of the date first written above.




                                                 By: /s/ Richard Nevins
                                                    Name: Richard Nevins
                                                    Title: Manager



                                                 By: /s/ M. Freddie Reiss
                                                    Name: M. Freddie Reiss
                                                    Title: Manager



                                                 By: /s/Michael I. Goldberg
                                                    Name: Michael I. Goldberg
                                                    Title: Manager




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                                   SIGNATURE PAGE TO ACTION BY WRITTEN CONSENT
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                                               SCHEDULE 1

                                               The Companies

                Carbondale Glen Lot L-2, LLC
                Carbondale Peaks Lot L-1, LLC
                H18 Massabesic Holding Company, LLC
                H33 Hawthorn Holding Company, LLC
                H50 Sachs Bridge Holding Company, LLC
                H64 Pennhurst Holding Company, LLC
                Hawthorn Investments, LLC
                Lilac Valley Investments, LLC
                Massabesic Investments, LLC
                M58 Springvale Holding Company, LLC
                M96 Lilac Valley Holding Company, LLC
                Pennhurst Investments, LLC
                Sachs Bridge Investments, LLC
                Springvale Investments, LLC




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